 Case 1:21-cv-01362-CFC Document 36 Filed 10/26/23 Page 1 of 1 PageID #: 657




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 Nimitz Technologies LLC,

                Plaintiff,                            Case No. 1:21-cv-01362-CFC

        v.

 BuzzFeed, Inc.,

                Defendant.



                                  STIPULATED DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure which states that

a plaintiff may dismiss an action without a court order by filing a stipulation of dismissal signed

by all parties who have appeared, Plaintiff Nimitz Technologies LLC (“Nimitz”) and Defendant

BuzzFeed, Inc. (“BuzzFeed”) stipulate to dismiss Nimitz’s claims with prejudice, and dismiss

BuzzFeed’s counterclaims without prejudice, with each Party to bear their own costs, expenses,

and attorneys’ fees.

 /s/ George Pazuniak                               /s/ Jeremy D. Anderson
 George Pazuniak (#478)                            Jeremy D. Anderson (#4515)
 824 North Market Street, Suite 10001A             Fish & Richardson P.C.
 Wilmington, DE 19801                              222 Delaware Ave., 17th Floor
 Direct: 207-359-8576                              P.O. Box 1114
 gp@del-iplaw.com                                  Wilmington, DE 19801
                                                   (302) 652-5070
 Attorneys for Plaintiff                           janderson@fr.com

                                                   Attorneys for Defendant
